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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF ALABAMA
                                NORTHERN DIVISION

JOHN O. WALSH, JR. #311 111,             )
                                         )
      Plaintiff,                         )
                                         )
      v.                                 )    CASE NO. 2:20-CV-653-RAH-SRW
                                         )
WARDEN BUTLER, et al.,                   )
                                         )
      Defendants.                        )


                                        ORDER

      On March 3, 2021, the Magistrate Judge filed a Recommendation to which no timely

objection has been filed. There being no objection filed to the Recommendation, and after

an independent review of the file, it is hereby ORDERED that:

      1. The Recommendation of the Magistrate Judge (Doc. 32) is ADOPTED.

      2. Plaintiff=s Motion for Preliminary Injunction (Doc. 5) is DENIED.

      This case is not closed and is referred to the United States Magistrate Judge for

further proceedings.

      DONE, on this the 25th day of May, 2021.


                                         /s/ R. Austin Huffaker, Jr.
                                  R. AUSTIN HUFFAKER, JR.
                                  UNITED STATES DISTRICT JUDGE
